Filed 10/02/18                          Case 18-25631                              Doc 30



                              UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF CALIFORNIA
                                       CIVIL MINUTES
           _____________________________________________________________________
           Case Title: Sheryl Ann Calalang    Case No.: 18-25631 - C - 13
                                              Docket Control No. MWM-317
                                              Date: 10/02/2018
                                              Time: 1:30 PM

           Matter: [14] - Motion for Relief from Automatic Stay [MWM-317]
           Filed by Creditor 6801 Leisure Town Road Apartments Investors (Fee
           Paid $181) (eFilingID: 6359590) (kvas)

           Judge: Ronald H. Sargis
           Courtroom Deputy: Janet Larson
           Reporter: Diamond Reporters
           Department: C
           _____________________________________________________________________
           APPEARANCES for:
           Movant(s):
           (by phone) Creditor's Attorney - Wendy Smith
           Respondent(s):
           Trustee's Attorney - Neil Enmark
           _____________________________________________________________________
                                       CIVIL MINUTES




           Motion Granted
           Findings of fact and conclusions of law stated orally on the record
                 The court will issue an order.
           Local Rule 9014-1(f)(2) Motion—Hearing Required.
           Sufficient Notice Provided. The Proof of Service states that the
           Motion and supporting pleadings were served on Debtor (pro se),
           Chapter 13 Trustee, creditors, parties requesting special notice, and
           Office of the United States Trustee on September 17, 2018. Fourteen
           days’ notice is required. That requirement was met.
                The Motion for Relief from the Automatic Stay was properly set
           for hearing on the notice required by Local Bankruptcy Rule 9014-
           1(f)(2). Debtor, creditors, the Chapter 13 Trustee, the U.S.
           Trustee, and any other parties in interest were not required to file
           a written response or opposition to the motion. If any of these
           potential respondents appear at the hearing and offer opposition to
Filed 10/02/18                          Case 18-25631                              Doc 30



           the motion, the court will set a briefing schedule and a final
           hearing, unless there is no need to develop the record further. If
           no opposition is offered at the hearing, the court will take up the
           merits of the motion. No opposition was presented at the hearing.


           The Motion for Relief From the Automatic Stay is granted.


                6801 Leisure Town Road Apartments Investors and its Successor in
           interest, MG Properties Group ("Movant") seeks relief from the
           automatic stay with respect to the real property commonly known as
           6801 Leisure Town Road, Unit 113, Vacaville, CA, 95688.
                As noted in both Movant’s Motion (Dckt. 14) and the Chapter 13
           Trustee’s Non-Opposition (Dckt. 21), Movant was granted a relief from
           stay with respect to this same property in Debtor’s previously
           bankruptcy proceeding (Case No. 18-24990) on September 6, 2018.
           (Dckt. 33). The court granted relief from the stay in the previous
           bankruptcy proceeding based on the following:
                 (1) Movant leased residential real property to the Debtor.
                (2) Prior to the filing of the petition, Movant obtained a
           judgement against Debtor in an Unlawful Detainer action with respect
           to this property on July 31, 2018 in Solano County Superior Court,
           Case NO. FCM160860 and provided the required notice to the Debtor,
           terminating Debtor’s right to possession.
                (3) The Debtor no longer had an interest in the subject
           property.
           The same facts support Movant’s pending motion.
                Given the judgment in the Unlawful Detainer action, Debtor’s
           right to possession has terminated and there is cause to terminate
           the automatic stay. In re Windmill Farms, Inc., 841 F.2d 1467 (9th
           Cir. 1988); In re Smith, 105 B.R. 50, 53 (Bankr. C.D. Cal. 1989). The
           debtor no longer has an interest in the subject property which can be
           can be considered either property of the estate or an interest
           deserving of protection by section 362(a).
                The court shall issue a minute order terminating and vacating
           the automatic stay to 6801 Leisure Town Road Apartments Investors and
           its Successor in interest, MG Properties Group , and its agents,
           representatives and successors, and all other creditors having lien
           rights against the property, to conduct a nonjudicial foreclosure
           sale pursuant to applicable nonbankruptcy law and their contractual
           rights, and for any purchaser, or successor to a purchaser, at the
           nonjudicial foreclosure sale to obtain possession of the property.
Filed 10/02/18                         Case 18-25631                               Doc 30




                The Stay is modified to permit the Movant to seek possession of
           the property. No fees and costs are awarded. The fourteen day stay of
           Fed. R. Bankr. P. 4001(a)(3) is ordered waived.
